Case 1:15-cv-OOO4O Document 7 Filed in TXSD on 05/14/15 Page 1 of 1

United States District Court
Southem District of Texas
IN THE UNITED sTATEs DISTRICT CoURT ENTE"ED
FoR THE soUTHERN DISTRICT oF TEXAS MAY 1 4 2015
BRoWNvaLLE DlvrsoN
MARTHA ToRREs § °a‘”d "‘ B'ad’°y' “e‘* °f°°wf
§
Plaintiff, §
v. § ClvlL ACTloN No.
§ 1:15~Cv-40
sTANDARD GUARANTY INsURANCE §
CoMPANY §

Defendant.

ORDER GRANTING MOTION TO REMAND

 

Before the Court is Plaintifi` s Agreed Motion to Rernand, filed March 18, 2015.
Plaintiff indicates that this case should be remanded back to state court because this Court
lacks subject matter jurisdiction under 28 U.S.C § 1332 (a). Plaintiff further indicates that
Defendant Standard Guaranty Insurance Company has agreed to this request

After reviewing the Motion, the Court is of the opinion that it Should be
GRANTED. Accordingly, the Court hereby ORDERS this case REMANDED to the
445th Judicial District Court of Cameron County, Texas.

SO ORDERED.

 

sIGNED: M\O*\ / L_i , 2015
\J

&<;,_>\L»\Q

U.S. DISTRICT JUDGE

 

